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7                              IN THE UNITED STATES DISTRICT COURT


8                                    FOR THE TERRITORY OF GUAM


9     UNITED STATES OF AMERICA,                        MAGISTRATE CASE NO. 20 ~ 000 92
10                            Plaintiff,                     COMPLAINT


11                            vs.                      ATTEMPTED POSSESSION OF
                                                       METHAMPHETAMINE WITH INTENT
12    RICKY JAMES JR. SALAS SANTOS,                    TO DISTRIBUTE
                                                      [21 U.S.C. §§ 841(a)(1)& (b)(l)(A)(viii)]
13                            Defendant.


14

     THE UNDERSIGNED COMPLAINANT CHARGES UPON INFORMATION AND BELIEF
15
     THAT:

16
            On or about August 26,2020, in the District of Guam and elsewhere, the defendant
17
     RICKY JAMES JR. SALAS SANTOS,knowingly and intentionally attempted to possess with
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     intent to distribute, fifty (50)or more grams of methamphetamine, a schedule II controlled
19
     substance, in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(l)(A)(viii).

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                                    COMPLAINANT FURTHER STATES:

21
            I, Jason Correa, being duly sworn, do hereby depose and say the following:

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            1. I am a federal agent employed with the Drug Enforcement Administration, currently
23
     assigned to the District of Guam, with thirteen (13) years of law enforcement experience, duly

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                                                      I


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 1   appointed according to law and acting as such. Part of my responsibilities is the investigation of

2    controlled substances within all United States Territories, in violation of Title 21, United States

3    Code, Sections 841(a)(1), 843(b), and 846 (the Drug Abuse Prevention and Control Act). I have

4    experience investigating violations of illegal narcotics and have received training relative to

5    criminal investigations and narcotics trafficking from the Drug Enforcement Administration.

6           2. This affidavit is intended to show merely that there is sufficient probable cause to

7    support the issuance of a criminal complaint and arrest warrant and does not set forth all of my

8    knowledge about this matter.

9           3. On August 24, 2020, this Honorable Court issued Search Warrant, MJ-20-00087,for a

10   package addressed to Shane Salas, 118 Abanbang Loop, Yigo, Guam 96929, hereafter referred to

11   as the Salas package. Upon execution, approximately 470 grams of a white crystalline substance

12   was discovered inside said package. The substance was subsequently removed and field tested

13   presumptive positive for the presence of methamphetamine.

14          4. On August 25, 2020, this Honorable Court issued Tracking Warrant MJ 20-00088 and

15   Anticipatory Warrant MJ20-00089,for the Salas package.

16          5. On August 26, 2020, the Salas package was wired up with a breacher and GPS

17   tracking device. The methamphetamine was removed and replaced with "sham." Sham is an

18   item used to resemble methamphetamine, but is not methamphetamine. The bags of sham were

19   sprayed with clue spray and placed inside the Salas package and re-wrapped to match its original

20   condition. Additionally, the same exterior containers and interior contents inside the Salas

21   package were also placed back into the re-wrapped package. At approximately 10:45 a.m., the

22   Salas package with parcel mail box key was placed in the mail box assigned to 118 Abanbang

23   Loop, Yigo, Guam 96929. At approximately 4:32 p.m., an Asian Pacific Islander male, wearing

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 1   a grey shirt and tan shorts retrieved the parcel box key from the mail box assigned to 118

2    Abanbang Loop. The Asian Pacific Islander male then opened the parcel box mail box to retrieve

3    the Salas package inside the parcel mail box. The Asian Pacific Islander male presented two

4    forms of identification with the name Ricky James Jr Salas SANTOS (hereinafter referred to as

5    SANTOS). SANTOS retrieved parcel 9405 5036 9930 0493 3491 73 (Salas package) and then

6    entered into the driver's side of a gray Toyota Tacoma bearing Guam License Plates IN1976

7    (hereinafter referred to as the gray Tacoma). SANTOS placed the package into the gray Tacoma

8    from the driver's side. SANTOS drove around the neighborhood block in a loop before returning

9    to 118 Abanbang Loop residence. SANTOS exited the gray Tacoma and entered 118 Abanbang

10   Loop residence carrying the Salas package. SANTOS was then observed, a few minutes later,

11   walking around outside on the left side of 118 Abanbang Loop residence approaching a fire pit

12   contained in a 55 gallon barrel. SANTOS was observed re-entering the 118 Abanbang Loop

13   residence. At approximately 4:40 p.m., the breacher signal indicated that the sham Salas package

14   had been opened. At approximately 4:44 p.m., SANTOS was observed exiting the 118 Abanbang

15   Loop residence and entering the driver's side of the gray Tacoma. At approximately 4:45 p.m., a

16   traffic stop was conducted in the drive way of 118 Abanbang Loop. SANTOS was the driver of

17   the vehicle. The Salas package had been discarded and the contents containing the sham was

18   discovered scattered on a bed in one ofthe bedrooms within the residence. The breacher and

19   packaging box material of the Salas package was found tossed in the fire pit of the 55 gallon

20   barrel located on the left side of the residence. SANTOS was transported to Sirena Plaza to be

21   interviewed. At approximately 5:30 p.m., SANTOS was read his Miranda Warnings and agreed

22   to speak with DEA Special Agent Jason Correa and USPIS Inspector Benjamin Whitsitt.

23   SANTOS stated he did not know anything about any package. SANTOS stated he had drove

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 1   around in the gray Tacoma in the neighborhood and back to the 118 Abanbang Loop so he could

2    shoot chickens. SANTOS said he entered the 118 Abanbang Loop residence to retrieve his pellet

3    gun on the table and to go to the side of the residence to check the fire pit contained in a 55

4    gallon barrel. SANTOS stated he did not wish to answer any more questions investigators had to

5    ask.


6           6. Investigators executed the search warrant at the residence at 118 Abanbang Loop.

7    Search of the residence investigators discovered approximately 1,191 grams of suspected

8    methamphetamine concealed in a bag of Cesar dog food. The suspected methamphetamine was

9    tested and resulted in a presumptive positive field test for methamphetamine.

10          7. Based on the foregoing, I have probable cause to believe that, Ricky James Jr. Salas

11   SANTOS, has committed the offense of Attempted Possession of Methamphetamine with Intent

12   to Distribute in violation ofTitle 21, Lfnited States Code, Sections 841(a)(1) and (b)(l)(A)(viii).

13          FURTHER AFFIANT SAYETH NAUGHT


14          DATED this 27th day of August 2020.

15


16
                                                   Ja^n Con-ea
17                                                 Special Agent
                                                   Drug Enforcement Administration
18


19          SUBSCRIBED AND SWORN TO before me on this 27^'' day of August, 2020.

20


21
                                                    MICHEL J. BORDALLO
22                                                 U.S. Magistrate Judge
                                                    District of Guam
23


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